                     Case 2:18-cv-01068-AKK Document 13 Filed 08/24/18 Page 1 of 1                                                    FILED
                                                                                                                             2018 Aug-24 PM 01:04
                                                                                                                             U.S. DISTRICT COURT
                                                                                                                                 N.D. OF ALABAMA



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA

                                                                 )                  Alias Summons
         AXIS Surplus Insurance Company                          )
                                                                 )
                                              Plaintiff,         )
                                                                 )
                            v.                                   )
                                                                 )    CIVIL ACTION CASE NUMBER:
                                                                 )
         Domingo Valles; Garcia Building Company, LLC ;)                            2:18-CV-1068-AKK
         and Centermarc Construction Company, LLC

                            Defendant.                           )

                                               Alias Summons in a Civil Action

To: Garcia Building Company, LLC
    Jose R. Garcia, Jr.
    9125 Houndsbay Drive
    Montgomery, AL 36117


A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it), - or 60 days if you are in the
United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12(a)(2) or
(3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiffs attorney, whose name and address are:

                                     William A. Austill
                                     Joseph E. B. Stewart
                                     600 Century Park S., Ste. 100
                                     Birmingham, AL 35226

If you fail to do so, judgment by default may be entered against you for the relief demanded in the complaint You
also must file your answer or motion with the court.



                                                                 SHARON N. HARRJS, CLERK

                                                                 By~~~
                                                                 Deputy Clerk




                                                                 NORTHERN DISTRICT OF ALABAMA
                                                                 1729 5'" Avenue North
                                                                 Birmingham, Alabama 35203
